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                        `IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                             No. CR 06-0537 JB

JOSE CRUZ RODRIGUEZ-RODRIGUEZ,

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Defendant Jose Cruz Rodriguez-Rodriguez’

Motion to Suppress Physical Evidence and Statements, filed April 17, 2006 (Doc. 24)(“Motion to

Suppress”). The Court held an evidentiary hearing on the motion on May 30, 2006. The primary

issue is whether the Court should suppress the physical evidence and the statements secured as a

result of the police officers’ stop of Rodriguez-Rodriguez in reliance on radio bulletins that other

officers issued.   Because the officer issuing the bulletin had a reasonable suspicion to stop

Rodriguez-Rodriguez’ vehicle, and because the detention did not exceed the scope of the original

search, the Court will deny the motion to suppress.

                                  FACTUAL BACKGROUND

       Rule 12(d) of the Federal Rules of Criminal Procedure requires the Court to state its essential

findings on the record when deciding a motion that involves factual issues. The findings of fact in

this Memorandum Opinion and Order shall serve as the Court’s essential findings for purposes of

rule 12(d). The Court makes these findings under the authority of rule 104(a) of the Federal Rules

of Evidence, which requires a judge to decide preliminary questions relating to the admissibility of
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evidence, including the legality of a search or seizure and the voluntariness of an individual’s

confession or consent to search. See United States v. Merritt, 695 F.2d 1263, 1269 (10th Cir. 1982).

In deciding such preliminary questions, the Court is not bound by the rules of evidence except for

those rules related to privileges. See Fed. R. Evid. 1101(d)(1). Thus, the Court may consider hearsay

in ruling on a motion to suppress. See United States v. Merritt, 695 F.2d at 1269.

       In his motion, Rodriguez-Rodriguez contended that, upon his counsel’s information and

belief, and based on discovery already disclosed to him in the general course of discovery, the United

States would elicit certain testimony at an evidentiary hearing from its witnesses. At the hearing,

however, the testimony established the facts as follows:

       1.      On December 18, 2005, at approximately 4:30 a.m., Officer Michael Marquez of the

Santa Clara Police Department observed a brown 2000 Dodge pickup truck with an extended cab

heading westbound on U.S. Highway 180 near Santa Clara, New Mexico. See Motion to Suppress

at 2; United States’Response to Defendant’s Motion to Suppress Physical Evidence and Statements

at 1, filed April 20, 2006 (Doc. 27)(“Response”); Transcript of Morning Hearing at 6:18-23

(Marquez)(taken May 30, 2006)(“A.M. Transcript”).1

       2.      Marquez also observed the Dodge pickup truck was following a red Nissan Sentra

driving westbound on U.S. Highway 180. See Motion to Suppress at 3; Response at 1; A.M.

Transcript at 7:1-3 (Marquez).

       3.      Given the late hour, that these two vehicles were the only ones in the area, and that


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         The Court’s citations to the transcript of the hearing refer to the Court Reporter’s original,
unedited version. Any final transcript may contain slightly different page and/or line numbers. The
original transcript is divided into two portions, a transcript of morning proceedings and a transcript
of afternoon proceedings. The Court will refer to these portions separately as “A.M. Transcript” and
“P.M. Transcript,” because they are not consecutively paginated.

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he observed that both had California license plates, Marquez began following the two vehicles. See

Motion to Suppress at 3; Response at 1; A.M. Transcript at 7:3-4 (Marquez).

       4.      According to Marquez, the Dodge vehicle appeared to be riding “slightly low” in the

rear, which made him suspect that it might contain a hidden cache of contraband. Motion to

Suppress at 2. See Response at 1; A.M. Transcript at 9:18-21.

       5.      Because of these observations and his deduction, Marquez followed the two vehicles

for approximately one mile, during which time he noticed the Nissan swerving between the lanes,

and committing traffic violations. See Motion to Suppress at 2; Response at 1-2; A.M. Transcript

at 8:22 - 9:6; 14:13-25 (Marquez).

       6.      While engaged in this tailing activity, Marquez noticed that the pickup truck did not

have a light illuminating the license plate, in violation of New Mexico traffic laws, and so he

activated his service lights to conduct a traffic stop. Motion to Suppress at 2; Response at 1; A.M.

Transcript at 7:18-22 (Marquez).

       7.      As the pickup truck pulled to the side of the road and Marquez effected a traffic stop,

he also radioed to other law enforcement officers in the area asking for assistance in locating the

Nissan, and requesting that the Nissan be stopped for a “welfare check” -- a stop to make sure the

driver is okay and in condition to drive. Motion to Suppress at 3; Response at 2; A.M. Transcript

at 17:18-24; 60:9-22 (Marquez).

       8.      Marquez approached the pickup truck and asked the driver for his license and

registration for the pickup. See A.M. Transcript at 19:11-13 (Marquez).

       9.      The driver refused to identify himself, and stated that he could not produce a driver’s

license. See A.M. Transcript at 19:13-25 (Marquez).


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       10.     The driver acknowledged that he was an illegal alien from Mexico. Accordingly,

Marquez called the Border Patrol to alert it that he had detained an illegal alien, and the Border

Patrol indicated that it would send an agent to him. See A.M. Transcript at 20:21-24 (Marquez).

       11.     As Marquez was speaking with the driver of the pickup truck, he detected an odor of

marijuana coming from the pickup truck. See A.M. Transcript at 21:1-2 (Marquez).

       12.     Marquez noticed a bundle in the rear seat and asked the driver what was in the bundle.

See A.M. Transcript at 21:9-10 (Marquez).

       13.     The driver responded that the bundle contained dirty laundry. See A.M. Transcript

at 21:10-11 (Marquez).

       14.     Marquez asked the driver for permission to search the rear bed of the pickup truck.

See A.M. Transcript at 22:9-12 (Marquez).

       15.     The driver agreed to open the rear bed of the pickup truck. The driver exited the

pickup truck, unlocked the bed cover, and lifted the cover up. See A.M. Transcript at 22:14-16

(Marquez).

       16.     Marquez noticed multiple bundles in the truck bed similar to the one he had observed

in the rear seat of the truck, and he detected a strong scent of marijuana emanating from the truck

bed. The driver told Marquez that these bundles also contained clothes. See A.M. Transcript at

23:5-16 (Marquez).

       17.     Marquez asked the driver to close the truck bed and to get back into the vehicle. See

A.M. Transcript at 23:25 - 24:3 (Marquez).

       18.     After asking the driver to return to his vehicle, Marquez telephoned Chief Paul Jasso,

who was at home, and explained that he had stopped a vehicle that he believed could contain a load


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of marijuana. Marquez also called the Grant County Sheriffs Department and requested backup.

See A.M. Transcript at 24:23 - 25:8; 26:2-6 (Marquez); Transcript of Afternoon Hearing at 41:18-23

(Jasso)(taken May 30, 2006)(“P.M. Transcript”).

       19.      As Marquez was calling for backup, the driver jumped out of the pickup truck and

began running west on U.S. Highway 180 away from the area. See A.M. Transcript at 26:17-20

(Marquez).

       20.      Marquez was able to catch the driver by his sweatshirt, but the driver managed to

wiggle free of the sweat shirt, jumped over a barbed-wire fence, and headed into the desert. For his

safety, Marquez did not chase the driver. See A.M. Transcript at 26:21-27:6 (Marquez).

       21.      Deputy Adam Arellano of the Grant County Sheriff’s Department arrived on the

scene. Marquez explained what had happened to Arellano. Arellano called central dispatch and

reissued an attempt to locate the red Nissan. See A.M. Transcript at 67:18-22 (Arellano).

       22.      When Jasso arrived on the scene, Marquez pointed out the bundles which he believed

to be marijuana. The officers also noticed two cellular telephones located in the center console of

the truck. Jasso directed Marquez to call a tow truck and to have the pickup truck brought to the

Santa Clara Police Department. See A.M. Transcript at 29:6-18 (Marquez); P.M. Transcript at 63:5-9

(Jasso).

       23.      At approximately 5:30 a.m., Arellano received a call from Deputy Anthony Bencomo

indicating that Bencomo had stopped the red Nissan on eastbound U.S. Highway 180 near an

EconoLodge motel in Silver City, New Mexico. That location is approximately six miles from

where Marquez had stopped the pickup truck. See A.M. Transcript at 70:1-7 (Arellano).

       24.      Bencomo did not observe the red Nissan driving erratically or making any evasive


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movements. See P.M. Transcript at 27:16-21 (Bencomo).

       25.     Arellano proceeded to the site where Bencomo had stopped the red Nissan. After

arriving at the site, Arellano called Jasso over the radio and informed him that officers had stopped

the other vehicle for which Marquez had asked law enforcement to look. See A.M. Transcript at

71:2-6 (Arellano).

       26.     Bencomo chose the location near the EconoLodge because he understood from

dispatch transmissions that the stop might involve narcotics, and wished to pull the red Nissan over

in a well-lit area. See P.M. Transcript at 10:19-24 (Bencomo).

       27.     As Bencomo began to approach the vehicle, a Silver City Police Department patrol

unit arrived on the scene and parked behind Bencomo’s vehicle. See P.M. Transcript at 14:14-18

(Bencomo).

       28.     Upon being pulled over, the driver of the red Nissan, Rodriguez-Rodriguez, denied

having any association with the pickup truck that Marquez had stopped earlier. See A.M. Transcript

at 84:18-21.

       29.     Rodriguez-Rodriguez produced a valid driver’s license, registration, and insurance

paperwork for the vehicle. The vehicle was registered to an individual other than Rodriguez-

Rodriguez; Rodriguez-Rodriguez identified this individual as his father-in-law. See A.M. Transcript

at 81:25-82:2 (Arellano); P.M. Transcript at 17:21-25 (Bencomo).

       30.     Rodriguez-Rodriguez told Bencomo that he was coming from his brother’s house,

that his brother lived nearby, and that he was returning to Palomas, Mexico to fix the vehicle. See

P.M. Transcript at 18:18-21.

       31.     When he arrived on the scene, Arellano asked Rodriguez-Rodriguez if he had any


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handguns, hand grenades, or narcotics and for permission to search the car. Rodriguez-Rodriguez

granted Arellano permission to search the car. See A.M. Transcript at 71:18-25 (Arellano); P.M.

Transcript at 21:19-21 (Bencomo).

       32.     Arellano was aware that the driver of the pickup truck had fled, and so placed

Rodriguez-Rodriguez in investigative detention during the search of the Nissan. Rodriguez-

Rodriguez was placed in handcuffs and seated in Bencomo’s patrol vehicle. See A.M. Transcript

at 74:14-17.

       33.     Arellano advised Rodriguez-Rodriguez that he was not under arrest, but was under

investigative detention. See A.M. Transcript at 77:4-7 (Arellano).

       34.     The officers did not discover any contraband during the search of the Nissan. See

A.M. Transcript at 75:7-8 (Arellano); P.M. Transcript at 22:6-8 (Bencomo).

       35.     Arellano called Jasso over the radio and told him that he had searched the vehicle.

Jasso asked Arellano if there was a cellular telephone in the car or in possession of Rodriguez-

Rodriguez, and asked Arellano to secure any cellular telephone. See A.M. Transcript at 75:13-16

(Arellano); P.M. Transcript at 43:13-17 (Jasso).

       36.     Arellano took possession of a cellular telephone from Rodriguez-Rodriguez’person,

placed it on top of the trunk area of the Nissan, and waited for Jasso to arrive. See A.M. Transcript

at 76:3-6.

       37.     When Jasso arrived, Arellano asked Rodriguez-Rodriguez for permission to go

through his telephone, and he agreed. Rodriguez-Rodriguez was still handcuffed and seated in

Bencomo’s car when this request was made. See A.M. Transcript at 76:21-77:3 (Arellano); P.M.

Transcript at 22:21-25 (Bencomo).


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       38.      Arellano did not tell Rodriguez-Rodriguez that he did not have to consent to having

his cellular telephone searched. See A.M. Transcript at 85:4-8 (Arellano); P.M. Transcript at 34:7-

13 (Bencomo); id. at 61:14-21 (Jasso).

       39.      Jasso reviewed the last several dialed numbers in Rodriguez-Rodriguez’ cellular

telephone. During this examination, Jasso was also in possession of the two cellular telephones

found in the pickup truck that Marquez had stopped earlier. See Motion to Suppress at 3; Response

at 3; A.M. Transcript at 77:22-23 (Arellano); P.M. Transcript at 46:18-47:11 (Jasso).

       40.      Jasso dialed the last number called on Rodriguez-Rodriguez’ cellular telephone,

which caused one of the cellular phones previously found in the pickup truck to begin ringing. See

Motion to Suppress at 3-4; Response at 3; P.M. Transcript at 47:12-18 (Jasso).

       41.      After linking the two cellular telephones, Jasso had the officers transport Rodriguez-

Rodriguez to the Santa Clara Police Department until the officers could locate the driver of the

pickup truck that Marquez had stopped. The officers were directed not to question Rodriguez-

Rodriguez. See Motion to Suppress at 4; P.M. Transcript at 47:23-48:3 (Jasso).

       42.      At the Santa Clara Police Department, Jasso read Rodriguez-Rodriguez his Miranda

rights and advised him that he did not have to talk to officers. See P.M. Transcript at 50:3-10

(Jasso).

       43.      Rodriguez-Rodriguez was handcuffed during the interview with Jasso. See P.M.

Transcript at 57:1-6 (Jasso).

       44.      Rodriguez-Rodriguez stated to Jasso that he had been traveling to Silver City to visit

his brother on Pine Street. He stated that he experienced car trouble and had begun to return to

Mexico to repair the vehicle. See P.M. Transcript at 50:13-18 (Jasso).


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       45.      When asked if he would like assistance notifying his brother that he was in town,

Rodriguez-Rodriguez indicated that he did not know his brother’s address and that his brother did

not have a telephone. See P.M. Transcript at 50:21-51:1 (Jasso).

       46.      The registration paperwork that the law enforcement officers had procured from the

driver of the pickup truck indicated that the truck was registered to Martin Nunez; the registration

paperwork that the law enforcement officers had procured from Rodriguez-Rodriguez indicated that

the Nissan was registered to Martin Rivas. Both vehicles were registered to the same address. See

P.M. Transcript at 52:8-10 (Jasso).

       47.      Rodriguez-Rodriguez indicated that he did not know Nunez or Rivas. See P.M.

Transcript at 52:19-24 (Jasso).

       48.      Jasso asked Rodriguez-Rodriguez why his cellular phone called one of the telephones

found in the Dodge pickup truck. Rodriguez-Rodriguez responded that “everybody has the same

number.” P.M. Transcript at 53:9-10 (Jasso).

       49.      At approximately noon that day, law enforcement officers apprehended the driver of

the Dodge pickup truck, Hiram Gallardo-De La Cruz, and transported Gallardo-De La Cruz to the

Santa Clara Police Department. Rodriguez-Rodriguez and Gallardo-De La Cruz were able to see

each other when officers entered with Gallardo-De La Cruz. See P.M. Transcript at 53:22-54:2

(Jasso).

       50.      Jasso left Rodriguez-Rodriguez to interview Gallardo-De La Cruz. Gallardo-De La

Cruz told Jasso that he and Rodriguez-Rodriguez knew each other, that Rodriguez-Rodriguez was

assisting him in transporting marijuana to Compton, California, and that both Gallardo-De La Cruz

and Rodriguez-Rodriguez were from Compton. See P.M. Transcript at 54:3-5 (Jasso).


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       51.     After interviewing Gallardo-De La Cruz, Jasso returned to Rodriguez-Rodriguez;

Jasso re-advised him that he did not need to make any further statements, and then told him that he

knew the truth. See P.M. Transcript at 54:9-12 (Jasso).

       52.     Rodriguez-Rodriguez responded that he had been lying and that: (i) Martin Nunez

and Martin Rivas are the same person; (ii) he was married to Martin Rivas Nunez’daughter; (iii) he

did not want to lose his resident status because he was from Mexico; and (iv) both he and Gallardo-

De La Cruz were from Compton. See P.M. Transcript at 54:12-18 (Jasso).

       53.     Rodriguez-Rodriguez indicated that he and Gallardo-De La Cruz were working

together to transport the marijuana to Compton. Rodriguez-Rodriguez admitted that he was paid

$700.00 for his assistance in delivering the marijuana. See Motion to Suppress at 4; Response at 5;

P.M. Transcript at 55:17-19 (Jasso).

       54.     Rodriguez-Rodriguez signed a consent to search form for the red Nissan. See Motion

to Suppress at 4; Response at 4.

       55.     A drug detection dog inspected the Nissan. The dog “alerted” law enforcement to

areas on the steering wheel, driver panel, and to a pair of gloves on the rear floor board. No drugs,

however, were found in the vehicle. See Motion to Suppress at 4; Response at 4.

                               PROCEDURAL BACKGROUND

       Rodriguez-Rodriguez moves the Court, pursuant to rules 12(b)(3) and 26.2 of the Federal

Rules of Criminal Procedure, for an order suppressing from use at the trial the following evidence,

which he contends was unlawfully seized: (i) any physical evidence, including but not limited to, a

cellular telephone and a pair of gloves seized from him and the vehicle he was driving as a direct and

indirect result of an unlawful traffic stop executed on his vehicle near Silver City, New Mexico on


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December 18, 2005; (ii) any observations of Rodriguez-Rodriguez by the arresting police officer(s)

who conducted the allegedly unlawful traffic stop of Rodriguez-Rodriguez’vehicle; (iii) the results

of a “canine search” of the vehicle conducted as a direct and indirect result of the allegedly unlawful

traffic stop; (iv) the police’s “seizure” of Rodriguez-Rodriguez’ consent to inspect his cellular

telephone accomplished as a direct and indirect result of the allegedly unlawful traffic stop; (v) the

results of the “last number dialed” test on Rodriguez-Rodriguez’ cellular telephone and any other

inspection of his telephone the police conducted as a result of the traffic stop; and (vi) any other

evidence, including physical evidence and statements, obtained as a direct or indirect result of the

exploitation of the allegedly unlawfully seized evidence. See Motion to Suppress at 1-2. The United

States argues that the stop of the red Nissan Rodriguez-Rodriguez was driving “was firmly based on

reasonable suspicion of traffic violations and involvement in the marijuana trafficking.” Response

at 9. The United States requests that the Court deny Rodriguez-Rodriguez’motion.

                                 FOURTH AMENDMENT LAW

       1.      Reasonable Suspicion of Traffic Violations.

       The Fourth Amendment to the United States Constitution guarantees “[t]he right of the

people to be secure in their persons, houses, papers, and effects, against unreasonable searches and

seizures.” U.S. Const. amend IV. The Supreme Court of the United States has held that

“[t]emporary detention of individuals during the stop of an automobile by the police, even if only

for a brief period and for a limited purpose, constitutes a ‘seizure’of ‘persons’within the meaning

of this provision.” Whren v. United States, 517 U.S. 806, 809-810 (1996). Consequently, an

automobile stop is subject to the constitutional imperative that it be objectively reasonable under the

circumstances. See Ohio v. Robinette, 519 U.S. 33, 38 (1996); Delaware v. Prouse, 440 U.S. 648,


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654 (1979); Terry v. Ohio, 392 U.S. 1, 21 (1968).

        Consistent with the Supreme Court’s classification of a traffic stop as an investigative

detention, the United States Court of Appeals for the Tenth Circuit has identified two questions as

being relevant to the determination whether a traffic stop is constitutional: (i) “whether the officer’s

action was justified at its inception;” and (ii) “whether the officer’s action was reasonably related

in scope to the circumstances which justified the interference in the first place.” United States v.

Bustillos-Munoz, 235 F.3d 505, 512 (10th Cir. 2000)(internal quotations omitted). See United States

v. Concepcion-Ledesma, 447 F.3d 1307, 1312 (10th Cir. 2006). Among other legitimate reasons,

the Supreme Court has endorsed the general rule that “the decision to stop an automobile is

reasonable where the police have probable cause to believe that a traffic violation has occurred.”

Whren v. United States, 517 U.S. at 810. Thus, in analyzing the first inquiry, the Tenth Circuit has

ruled that “a traffic stop is valid under the Fourth Amendment if the stop is based on an observed

traffic violation or if the police officer has reasonable articulable suspicion that a traffic or equipment

violation has occurred or is occurring.” United States v. Botero-Ospina, 71 F.3d 783, 787 (10th Cir.

1995)(en banc).

        A stop is reasonable if the “particular officer had reasonable suspicion that this particular

motorist violated any one of the multitude of applicable traffic and equipment regulations of the

jurisdiction.” United States v. Alvarado, 430 F.3d 1305, 1308 (10th Cir. 2005)(quoting United

States v. Zabalza, 346 F.3d 1255, 1258 (10th Cir. 2003)). In applying this standard, the Supreme

Court has recognized that “‘reasonable suspicion’is a less demanding standard than probable cause

and requires a showing considerably less than preponderance of the evidence.” Illinois v. Wardlow,

528 U.S. 119, 123 (2000). Moreover, “an officer with reasonable suspicion need not ‘rule out the


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possibility of innocent conduct’ as long as the totality of the circumstances suffices to form ‘a

particularized and objective basis’for a traffic stop.” United States v. Vercher, 358 F.3d 1257, 1261

(10th Cir. 2004)(quoting United States v. Arvizu, 534 U.S. 266, 277-78 (2002)). Nevertheless,

despite this liberal standard, “the Fourth Amendment requires at least a minimal level of objective

justification for making the stop . . . [and t]he officer must be able to articulate more than an inchoate

and unparticularized suspicion or hunch of criminal activity.” Illinois v. Wardlow, 528 U.S. at 123-

24.

        Once a traffic stop has been effected, the driver may be constitutionally detained only so long

as the officer’s subsequent conduct is reasonably related in scope to the circumstances that justified

the initial stop “unless the officer has an objectively reasonable suspicion that illegal activity

unrelated to the stop has occurred or the driver otherwise consents to the encounter.” United States

v. Edgerton, 483 F.3d 1043, 1047 (10th Cir. 2006). The scope of an investigative detention must

be related to its initial justification, and the detention “must ‘last no longer than is necessary to

effectuate the purpose of the stop.’” United States v. Millan-Diaz, 975 F.2d 720, 721 (10th Cir.

1992)(quoting Florida v. Royer, 460 U.S. 491, 500 (1983)). To remain constitutional under the

Tenth Circuit’s second inquiry, “once the purpose of the stop is satisfied and any underlying

reasonable suspicion dispelled, the driver’s detention generally must end without undue delay.”

United States v. Edgerton, 483 F.3d at 1047.

        2.      Bulletin Stops.

        The Supreme Court has indicated that a vehicle may be validly stopped in response to a

bulletin or BOLO (“be on the lookout for”) call. See United States v. Hensley, 469 U.S. 221, 233

(1985). In United States v. Hensley, the Supreme Court held that evidence uncovered in the course


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of a bulletin stop is admissible “if the police who issued the flyer or bulletin possessed a reasonable

suspicion justifying a stop.” Id. See United States v. Hinojos, No. 93-5242, 1996 U.S. App. LEXIS

611, at *13 (10th Cir. Jan. 18, 1996)(“[A] police flyer or bulletin may provide objective justification

for a Terry stop by an officer, but only if the flyer itself is based on reasonable suspicion.”);2 United

States v. Gonzales, 897 F.2d 504, 506 (10th Cir. 1990). Finally, the exigencies of law enforcement

work mandate that the propriety of the stop does not “turn on whether those relying on the flyer were

themselves aware of the specific facts which led their colleagues to seek their assistance.” United

States v. Hensley, 469 U.S. at 231. Police officers are entitled “to rely on the observations,

statements, and conclusions of their fellow officers” and are not required to reevaluate the original

officer’s grounds for suspicion. Baptiste v. J.C. Penney Co., 147 F.3d 1252, 1260 (10th Cir.

1998)(citing United States v. Hensley, 469 U.S. at 230-33).

                                             ANALYSIS

        The stop of the red Nissan Rodriguez-Rodriguez was driving was based on reasonable

suspicion of traffic violations and involvement in the marijuana trafficking. The questioning and

detention of Rodriguez-Rodriguez was reasonably related to the scope of the initial stop.

Accordingly, the Court will deny his motion to suppress.

I.      THE STOP OF RODRIGUEZ-RODRIGUEZ WAS PROPERLY EXECUTED IN
        RESPONSE TO A VALID BULLETIN BASED ON REASONABLE SUSPICION.

        Rodriguez-Rodriguez contends that reasonable suspicion did not exist for law enforcement



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         The Tenth Circuit Rule 36.3(B) states: “Citation to an unpublished decision is disfavored.
But an unpublished decision may be cited to if: (i) it has persuasive value with respect to a material
issue that has not been addressed in a published opinion; and (ii) it would assist the court in its
disposition.” This unpublished decision meets both these criteria, and the rules therefore allow
citation to this unpublished decision.

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officers to effect a traffic stop of the red Nissan he was driving. Rodriguez-Rodriguez appears to

argue that Marquez issued his bulletin because he observed the red Nissan traveling in front of

Gallardo-De La Cruz’ pickup truck, in the same direction, and that both vehicles had California

license plates. Rodriguez-Rodriguez characterizes the bulletin as “operating on a hunch” and

conducting a “fishing expedition.” P.M. Transcript at 73:24-25 (Esparza). Because the Court finds

Marquez’ testimony that the red Nissan was driving erratically credible, and because, by the time

Bencomo stopped Rodriguez-Rodriguez, officers had information indicating Rodriguez-Rodriguez

might be involved in a scheme to transport marijuana, the Court finds reasonable suspicion existed

and the traffic stop of Rodriguez-Rodriguez was constitutionally valid.

       A.      MARQUEZ HAD REASONABLE SUSPICION TO EXECUTE A TRAFFIC
               STOP.

       Rodriguez-Rodriguez attaches great importance to the fact that the officer who actually

stopped the red Sentra, Bencomo, had not seen any traffic violation or other evidence that the driver

may have committed a crime. See Motion to Suppress at 5; P.M. Transcript at 27:16-21 (Bencomo).

Rodriguez-Rodriguez acknowledges that “[a] vehicle may be validly stopped based on . . . a bulletin

or BOLO,” but argues that “the information contained therein must be sufficient to satisfy the

arresting officer that reasonable suspicion to stop the vehicle exists.” Motion to Suppress at 4-5.

This assertion is an incorrect statement of the law. The propriety of Bencomo’s stop does not turn

on whether Bencomo personally observed Rodriguez-Rodriguez drive impermissibly or commit a

crime. Nor does it turn on whether Marquez and Arellano stated in their bulletins all the facts that

constituted their reasonable suspicion. See United States v. Hensley, 469 U.S. at 231 (holding the

propriety of a traffic stop “does not turn on whether those relying on the flyer were themselves aware



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of the specific facts which led their colleagues to seek their assistance.”). Bencomo, and other

officers who responded to the bulletin, were entitled to rely on Marquez’observations, statements,

and conclusions, and the stop of Rodriguez-Rodriguez was constitutional if Marquez had reasonable

suspicion to justify the stop. See id. at 233.

        As Marquez began following the pickup truck and the Nissan, he observed the Nissan

swerving, crossing the center line, and driving onto the shoulder. See P.M. Transcript at 8:22-9:6;

14:13-25 (Marquez); N.M. Stat. Ann. § 66-8-113 (prohibiting reckless driving); N.M. Stat. Ann §

66-7-308 (requiring drivers to remain on the right side of a roadway). Based on these observations,

Marquez possessed reasonable suspicion of traffic violations that justified his bulletin requesting that

the Nissan be stopped for a welfare check.

        Marquez had reasonable suspicion to justify a traffic stop. Marquez testified that he observed

the Nissan commit traffic violations at the hearing on this motion and the Court finds his testimony

credible. In light of the early-morning hour, and the erratic driving Marquez observed, it was not

unreasonable for Marquez to request the vehicle be stopped.

        B.      MARQUEZ ALSO HAD REASONABLE SUSPICION THAT RODRIGUEZ-
                RODRIGUEZ WAS ENGAGED IN CRIMINAL ACTIVITY.

        A second ground supports law enforcement’s reasonable suspicion of Rodriguez-Rodriguez.

The time of day the vehicles were traveling, that both had California license plates, and that the

Nissan attempted to move across lanes -- perhaps to get a better view of Marquez driving behind the

pickup truck -- all support Marquez’conclusion that the vehicles might be traveling together. This

reasonable deduction is important, because, once law enforcement officers discovered marijuana in

the pickup truck that Gallardo-De La Cruz was driving, it established reasonable suspicion that



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Rodriguez-Rodriguez might be involved in an enterprise to transport marijuana. This suspicion

constitutes reasonable grounds for the bulletin that Arellano issued after he arrived on the scene

where Marquez had stopped Gallardo-De La Cruz.

       Bencomo testified that, before he observed and stopped Rodriguez-Rodriguez’ Nissan, he

had heard a transmission that Arellano made indicating that there was an attempt to locate a red

sedan with California plates. See P.M. Transcript at 7:2-5 (Bencomo). Bencomo stated that the

transmission was associated with a Code Sixteen -- a reference to narcotics. See id. at 7:5-7

(Bencomo). Arellano testified that he had called central dispatch and re-issued Marquez’ original

bulletin after arriving on the scene where Marquez had pulled over the pickup truck and after

Marquez briefed him on what had been found in the pickup truck. Based on Marquez’ reasonable

conclusion that the vehicles were traveling together, and on the discovery of a large amount of

marijuana in Gallardo-De La Cruz’ pickup truck, Bencomo’s stop of Rodriguez-Rodriguez’was a

valid stop properly executed in response to a bulletin based on Marquez’and Arellano’s reasonable

suspicion.

II.    THE OFFICERS’INVESTIGATIVE DETENTION OF RODRIGUEZ-RODRIGUEZ
       WAS REASONABLY RELATED IN SCOPE TO THE CIRCUMSTANCES THAT
       JUSTIFIED THE INITIAL TRAFFIC STOP.

       Rodriguez-Rodriguez argues that, “even if sufficient suspicion for the initial stop existed, the

subsequent detention of [Rodriguez-Rodriguez] exceeded the justifiable scope of the initial stop.”

Motion to Suppress at 5. He argues that the foundation for law enforcement officers’suspicion was

limited to the fact that a red sedan with California license plates was traveling directly in front of,

and in the same direction as, the vehicle in which the marijuana was found. See id. Because law

enforcement officers’suspicion was based on more substantial evidence than Rodriguez-Rodriguez


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alleges, and because the circumstances of the stop could have led a reasonable officer to form an

“objectively reasonable suspicion that illegal activity unrelated to the stop has occurred,” United

States v. Edgerton, 483 F.3d at 1047, the Court finds that the extent of Rodriguez-Rodriguez’

investigative detention was not unconstitutional.

        Before Bencomo stopped Rodriguez-Rodriguez, Marquez reasonably suspected that the red

Nissan with California license plates traveling directly in front of and in the same direction as

Gallardo-De La Cruz was associated with Gallardo-De La Cruz. This reasonable suspicion justified

the initial stop of Rodriguez-Rodriguez under the first prong of the Tenth Circuit’s test for

constitutional traffic stops. Nevertheless, Rodriguez-Rodriguez suggests that, because he told

Arellano that he knew nothing about Gallardo-De La Cruz or the pickup truck, any suspicion should

have been dispelled, and his continued detention was constitutionally infirm. See Motion to

Suppress at 5. Rodriguez-Rodriguez contends that “[t]his constitutional infirmity tainted all of the

subsequent questioning and seizures.” Id. Because the officers were entitled to rely on more than

Rodriguez-Rodriguez’representations, however, the scope of the investigative detention remained

related to its initial justification and the detention lasted “no longer than [was] necessary to effectuate

the purpose of the stop.” United States v. Millan-Diaz, 975 F.2d at 721.

        Contrary to Rodriguez-Rodriguez’ argument, the questioning and detention of Rodriguez

after the stop were reasonably related in scope to the initial stop. Bencomo was justified in stopping

Rodriguez-Rodriguez on the basis of Marquez’and Arellano’s bulletins. Bencomo’s first questions

related directly to standard traffic law enforcement. Because Rodriguez-Rodriguez’answers to these

questions raised additional suspicion regarding other unrelated unlawful activity, the continued

detention was not unconstitutional.


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       Bencomo first asked Rodriguez-Rodriguez for his driver’s license, proof of insurance, and

proof of vehicle registration. Bencomo noticed that the vehicle was not registered to Rodriguez-

Rodriguez, but to a third party. Second, Rodriguez-Rodriguez told Bencomo that he was coming

from his brother’s house, that his brother lived nearby, but that he was returning to Palomas, Mexico

to fix the vehicle. Bencomo testified that, because of the distance between Silver City and Palomas,

and the desolate character of the road between the locations, it struck him as unusual that an

individual with family nearby would attempt to traverse the distance without first addressing the

mechanical difficulties. See P.M. Transcript at 19:22-20:10 (Bencomo).

       The additional suspicion that Rodriguez-Rodriguez’ responses reasonably engendered

validated continued detention. The totality of the circumstances demonstrates the reasonable basis

of the officers’suspicions. More important, because the Court concludes that the police officers did

not improperly stop Rodriguez-Rodriguez, or improperly extend his investigative detention, the

subsequent seizures and interrogatory admissions were not the product of the officers’ earlier

unconstitutional violations. The suspicions justified additional detention arising from Arellano’s

request for consent to search the car, Jasso’s request to examine Rodriguez-Rodriguez’ cellular

telephone, and the additional post-Miranda questioning that resulted in confessional statements.

       IT IS ORDERED that the Defendant’s Motion to Suppress Physical Evidence and

Statements is granted in part and denied in part. The Court grants the Defendant’s request for an

evidentiary hearing. The Court otherwise denies the Defendant’s motion.



                                                       ____________________________________
                                                       UNITED STATES DISTRICT JUDGE



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Counsel:

David C. Iglesias
 United States Attorney for the
   District of New Mexico
Albuquerque, New Mexico

-- and --

Gregory B. Wormuth
 Assistant United States Attorney
Office of the United States Attorney
Las Cruces, New Mexico

        Attorneys for the Plaintiff

Mario A. Esparza
Las Cruces, New Mexico

        Attorney for the Defendant




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